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                                             THE CITY OF NEW YORK
JAMES E. JOHNSON                            LAW DEPARTMENT                                                Melanie V. Sadok
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                                                                      November 4, 2020

        By ECF
        Honorable Daniel J. Stewart
        United States Magistrate Judge
        United States District Court
        Northern District of New York
        James T. Foley - U.S. Courthouse
        445 Broadway
        Albany, NY 12207-2924
                        Re: Lebovits et al v. Cuomo et al; Docket No 20-CV-01284 (GLS)(DJS)
        Your Honor:
                        I am an Assistant Corporation Counsel in the office of James E. Johnson,
        Corporation Counsel of the City of New York, attorney for defendants Bill de Blasio, the City of
        New York, and the New York City Department of Health and Mental Hygiene (“City
        defendants”) in the above-referenced matter. City defendants respectfully request that their time
        to respond to the complaint be extended from November 12, 2020 to December 4, 2020.
        Plaintiffs have consented to such extension and this Court has granted this extension to the State
        defendants.

                                                                      Respectfully submitted,

                                                                      /s/

                                                                      Melanie V. Sadok
                                                                      Assistant Corporation Counsel
                                                                      application for admission pro hac
                                                                      vice pending

        cc:      By ECF

                 Eric Rassbach, Esq.
                 Attorney for Plaintiffs

                 Chris Liberati-Conant
                 Attorney for State defendants
